é

“40 106 Rev. HAG HILASH-AQQ WB Document 1 Filed 02/25/19 Page 1 of 28 ' AL LOURT

 

 

UNITED STATES DISTRICT Court

for th ana
one FER 25 201
Northern District of Texas

In the Matter of the Search of CLERK U.S. DISTRICT COURT

 

) J
Briefly describe th to b hed By: at
Or yas the person be aime and address) Case No. ¢ : 1¢ ~ m Lj ~ {odpity
4632 Fawn Drive )
Fort Worth, Texas 76132 FILED UNDER SEAL

APPLICATION FOR A SEARCH WARRANT

1, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

4632 Fawn Drive, Fort Worth, Texas 76132, as described in Attachment A.

located in the Northern District of Texas , there is now concealed (identify the
person or describe the property to be seized):

 

See Attachment B

The. basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
oh evidence of a crime;
© contraband, fruits of crime, or other items illegally possessed;
& property designed for use, intended for use, or used in committing a crime;
C] a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
18 U.S.C. §§ 2251, 2252 and Possession, receipt, production, distribution of child pornography
2252A

The application is based on these facts:

See attached Affidavit.

C1 Continued on the attached sheet.

O Delayed notice of days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

 

 

( Applicant's signature

LeAndrew J. Mitchell, HSI

Pripted name and title

 

Sworn to before me and signed in my presence.

Date: 2/2s5° / 14
Att bear 'S signature

City and state: Fort Worth, Texas So ‘hn, L. Cureton, U.S. Magistrate Judge

Printed name and title

 

 

 
Case 4:19-mj-00191-BJ Document1 Filed 02/25/19 Page 2of28 PagelD 2

AFFIDAVIT IN SUPPORT OF SEARCH WARRANT APPLICATION

I, LeAndrew J. Mitchell, being duly sworn under oath, do hereby depose and

state:

1. Iama Special Agent of the United States Department of Homeland Security,
Homeland Security Investigations (HSI), and I have been employed in this capacity since
December 2008. I am a graduate of the Criminal Investigator Training Program and the
U.S. Immigration and Customs Enforcement Special Agent Training Academy. Asa
result of my employment with HSI, my duties include, but are not limited to, the
investigation and enforcement of Titles 8, 18, 19, 21 and 31 of the United States Code
(U.S.C.). Iam an “investigative or law enforcement officer of the United States” within
the meaning defined in 18 U.S.C. § 2510(7), in that I am an agent of the United States
authorized by law to conduct investigations of, and make arrests for, federal offenses.

2. As part of my duties as an HSI agent, I investigate criminal violations relating to the
sexual exploitation of children, including the illegal production, distribution,
transportation, receipt, and possession of child pornography, in violation of 18 U.S.C.

§§ 2251, 2252, and 2252A. I have received extensive training in the area of child
exploitation, and have observed and reviewed numerous examples of child pornography,
as defined in 18 U.S.C. § 2256, in all forms of media. I have been involved in numerous
child pornography investigations, and I am familiar with the tactics used by individuals

who collect and distribute child pornographic material.

Affidavit in Support of Search Warrant - Page 1 of 23
Case 4:19-mj-00191-BJ Document1 Filed 02/25/19 Page 3of 28 PagelD 3

3. This affidavit is being made in support of an application for a warrant authorizing
the search of the residential property at 4632 Fawn Drive, Fort Worth, Tarrant
County, Texas, 76132, located within the Northern District of Texas, and further
described in Attachment A incorporated with this affidavit. I seek the authorization to
search the entire residential premises, including any attached or unattached outbuildings,
and any computers and computer media located therein, for the items specified in
Attachment B incorporated with this affidavit, which constitute evidence and
instrumentalities of violations of 18 U.S.C. §§ 2252 and 2252A, which make the
distribution, transportation, receipt and possession child pornography a federal offense.
4. The information set forth in this affidavit comes from my investigation, my training
and experience, and information provided to me by other law enforcement officers.
Since this affidavit is being submitted for the limited purpose of securing a search
warrant, I have not included each and every fact known to me concerning this
investigation. I have only set forth those facts that I believe are necessary to establish
probable cause to believe that evidence of violations of 18 U.S.C. §§ 2252 and 2252A, or
the attempt to commit such violations, are presently located at 4632 Fawn Drive, Fort
Worth, Texas.

DEFINITIONS
5. The following definitions, inclusive of all definitions contained in 18

U.S.C. § 2256, apply to this affidavit and Attachment B:

Affidavit in Support of Search Warrant - Page 2 of 23
Case 4:19-mj-00191-BJ Document1 Filed 02/25/19 Page4of28 PagelD4

a. “Computer” refers to any electronic, magnetic, optical,
electrochemical, or other high-speed data processing device capable of performing
logical or storage functions, and includes any data storage facility or
communications facility directly related to such a device. As used herein,
“computer” also incorporates digital devices that complete these same functions,
such as smartphones, tablets, connected devices, and e-readers. See 18 U.S.C.

§ 1030(e)(1).

b. “Computer hardware” consists of all equipment that can receive,
capture, collect, analyze, create, display, convert, store, conceal, or transmit
electronic, magnetic, or similar computer impulses or data. Computer hardware
includes any data-processing devices (including, but not limited to, central
processing units, internal and peripheral storage devices such as fixed disks,
external hard drives, floppy disk drives and diskettes, and other memory storage
devices); peripheral input/output devices (including, but not limited to, keyboards,
printers, video display monitors, and related communications devices such as
cables and connections); as well as any devices, mechanisms, or parts that can be
used to restrict access to computer hardware (including, but not limited to,
physical keys and locks).

c. “Computer passwords and data security devices” consist of
information or items designed to restrict access to or hide computer software,

documentation, or data. Data security devices may consist of hardware, software,

Affidavit in Support of Search Warrant - Page 3 of 23
Case 4:19-mj-00191-BJ Document1 Filed 02/25/19 Page5of28 PagelID5

or other programming code. A password (a string of alpha-numeric characters)
usually operates what might be termed a digital key to “unlock” particular data
security devices. Data security hardware may include encryption devices, chips,
and circuit boards. Data security software of digital code may include
programming code that creates “test” keys or “hot” keys, which perform certain
pre-set security functions when touched. Data security software or code may also
encrypt, compress, hide, or “booby-trap” protected data to make it inaccessible or
unusable, as well as reverse the progress to restore it.

d. “Internet Protocol address” or “IP address” refers to a unique
number used by a computer to access the Internet. IP addresses can be dynamic,
meaning that the Internet Service Provider assigns a different unique number to a
computer every time it accesses the Internet. IP addresses may also be static,
which means the provider assigns a user’s computer a particular IP address that is
used each time the computer accesses the Internet.

e. “Mobile applications” or “mobile apps” are computer programs or
software applications specifically designed to run on mobile devices (e.g.,
smartphones, tablets, e-readers, etc.). Mobile applications are generally
downloaded from application distribution platforms operated by specific mobile
operating systems, like App Store (Apple mobile devices) or Google Play Store

(Android mobile devices).

Affidavit in Support of Search Warrant - Page 4 of 23
Case 4:19-mj-00191-BJ Document 1 ‘Filed 02/25/19 Page 6of28 PagelD 6

f. “Instant messaging” is a type of communication that offers real-time
text transmission over the Internet. Instant messaging generally involves short
messages which are transmitted between two or more parties. Various social
networking, dating and gaming websites and mobile applications offer instant
messaging for users to communicate amongst themselves. More advanced
features of instant messaging include push technology to provide real-time text,
and the ability to send/receive digital files, clickable hyperlinks, and video chat.

g. The terms “records,” “documents,” and “materials,” as used herein,
include all information recorded in any form, both visually or aurally, and by any
means, whether in handmade form (including, but not limited to: writings,
drawings, and paintings), photographic form (including, but not limited to:
microfilm, microfiche, prints, slides, negatives, videotapes, motion pictures, and
photocopies), mechanical form (including, but not limited to: phonograph records,
printing, or typing), or electrical, electronic, or magnetic form (including, but not
limited to: tape recordings, cassettes, compact discs, electronic, or magnetic
storage devices such as floppy diskettes, hard disks, CD-ROMs, digital video disks
or DVD’s, Personal Digital Assistants (PDAs), Multimedia Cards (MMCs),
memory sticks, optical disks, printer buffers, smart cards, memory calculators,
electronic dialers, electronic notebooks, as well as digital data files and printouts

or readouts from any magnetic, electrical or electronic storage device).

Affidavit in Support of Search Warrant - Page 5 of 23

 
Case 4:19-mj-00191-BJ Document1 Filed 02/25/19 Page 7of28 PagelD 7

BACKGROUND ON COMPUTERS AND CHILD PORNOGRAPHY
6. Based on my training and experience in child exploitation investigations, I am
aware that computers, computer technology, and the Internet significantly facilitate the
receipt, distribution, and possession of child pornography. Computers generally serve
five (5) functions in connection with child exploitation offenses: production,
communication, distribution, storage and social networking. Child pornography
offenders can transpose photographic images from a camera into a computer-readable
format with a scanner. With digital cameras, the images can be transferred directly onto
a computer. A modem allows any computer to connect to another computer through the
use of telephone, cable, or wireless connection. Therefore, through use of the Internet,
electronic contact can be made to literally millions of computers around the world.
7. A computer’s ability to store images in digital form makes the computer itself an
ideal repository for child pornography. The size of the electronic storage media
(commonly referred to as the hard drive) used in home computers has grown significantly
within the last several years. These drives can store thousands of images at very high
resolution. In addition, electronic devices such as smartphones (e.g., Apple iPhones,
Samsung Galaxy), connected devices (e.g., Apple iTouch), e-readers, and tablets (e.g.,
Apple iPads, Kindle Fire) now function essentially as computers with the same abilities

to store images in digital form.

Affidavit in Support of Search Warrant - Page 6 of 23

 
Case 4:19-mj-00191-BJ Document1 Filed 02/25/19 Page 8of28 PagelD 8

8. The Internet affords collectors of child pornography several different venues for
obtaining, viewing and trading child pornography in a relatively secure and anonymous
fashion. Collectors and distributors of child pornography also use online resources to
retrieve and store child pornography, including, but not limited to, services offered by
Internet portals such as Yahoo, Outlook, and Google. These online services allow a user
to set up an account with a remote computing service that provides e-mail services as
well as electronic storage of computer files in any variety of formats. A user can set up
an online storage account from any computer or device with access to the Internet, and
evidence of such online storage of child pornography is often found on the user’s
computer or device.

9. Even when such files have been deleted, they can be recovered months or years
later using readily available forensic tools. When a person deletes a file on a home
computer, the data contained in the file does not actually disappear; rather, that data
remains on the hard drive until it is overwritten by new data. Therefore, deleted files, or
remnants of deleted files, may reside on the hard drive in space that is not allocated to an
active file for long periods of time before they are overwritten. A computer’s operating
system may also keep a record of deleted data in a “swap” or “recovery” file.

10. Additionally, files that have been viewed on the Internet are automatically
downloaded into a temporary Internet directory or “cache.” Browsers typically maintain
a fixed amount of hard drive space devoted to these files, and the files are only

overwritten as they are replaced with more recently viewed Internet pages.

Affidavit in Support of Search Warrant - Page 7 of 23
 

Case 4:19-mj-00191-BJ Document1 Filed 02/25/19 PageQ9of28 PagelID9

Therefore, the ability to retrieve residue of an electronic file from a hard drive depends
less on when the file was downloaded or viewed, and more on the user’s operating
system, storage capacity, and computer habits.

SPECIFICS REGARDING THE SEARCH AND SEIZURE OF COMPUTERS
Il. Based on my training and experience, I am aware that the search of computers
often requires agents to seize most of the computer items (e.g., hardware, software, and
instructions) to be processed later by a qualified computer expert in a laboratory or other
controlled environment. That is essential to the search for electronic evidence because of
the following facts:

a. Computer storage devices, like hard drives, diskettes, tapes, or laser
disks, store the equivalent of thousands of pages of information. When the user
wants to conceal electronic evidence of a crime, he or she may store it in random
order with deceptive file names. This requires searching authorities to examine all
of the stored data to determine whether it is included within the scope of warrant.
This process can take weeks or months, depending on the volume of the stored
data, and it would be impractical to attempt this kind of data search on-site;

b. Searching computer systems for criminal evidence is a highly
technical process that requires expert skills and a properly controlled environment.
The vast array of computer hardware and software available today requires even
computer experts to specialize in specific systems and applications. It is difficult

to know prior to a search which expert should analyze the system and its data.

Affidavit in Support of Search Warrant - Page 8 of 23
 

Case 4:19-mj-00191-BJ Document1 Filed 02/25/19 Page 10o0f28 PagelD 10

The search of a computer system can be equated to a scientific procedure, which is
designed to protect the integrity of the evidence while recovering hidden, erased,
compressed, password-protected, and other encrypted files. Because computer
evidence is extremely vulnerable to tampering and destruction, both from external
sources and from code embedded in the system as a “booby-trap,” the controlled
environment of a laboratory is essential to its complete and accurate analysis;

c. In order to fully retrieve data from a computer system, an analyst

 

needs all magnetic storage devices, as well as the central processing unit (CPU).
For child pornography investigations, in which the evidence consists partly of
graphic files, the monitor and printer are also essential to show the nature and
quality of the graphic images that the system can produce. The analyst needs all
assisting software (e.g., operating systems or interfaces, and hardware drivers) and
any applications software, which may have been used to create the data, as well as
all related instructional manuals, documentation and security devices;

d. Searching computerized information for evidence or
instrumentalities of a crime often requires the seizure of the entire computer’s
input/output periphery devices, including related documentation, passwords and
security devices, so that a qualified examiner can accurately retrieve the system’s
data in a controlled environment. Peripheral devices, which allow users to enter
and retrieve data from stored devices, vary widely in their compatibility with other

hardware and software.

Affidavit in Support of Search Warrant - Page 9 of 23
Case 4:19-mj-00191-BJ Document1 Filed 02/25/19 Page11of28 PagelD 11

Many system storage devices require particular input/output devices in order to
read the data on the system; therefore, it is important that the analyst be able to

properly retrieve the evidence sought.

12. The facts set forth in this affidavit establish probable cause to believe that a
computer, its storage devices, and other system components were used as a means of
committing offenses involving the sexual exploitation of minors, in addition to storing
evidence of said crime. Accordingly, I seek the authorization to seize and search any
computers and related electronic devices located at 4632 Fawn Drive, Fort Worth,
Texas, consistent with Attachment B to the requested warrant.
INFORMATION ABOUT KIK MESSENGER

13. Kik Messenger (hereinafter, “Kik’’) is a free instant messaging mobile application
designed and managed by Kik Interactive Incorporated, a company based in Waterloo,
Canada. Kik uses the Internet to allow users to send and receive instant messages, photos
and videos, and to engage in video chat. During the account registration process, users
are prompted to create a username, which cannot later be changed, and a display name,
which other users initially see when communicating. During the registration process,
users are also asked to provide an email address, date of birth, user location and a profile
picture. Email addresses can be “confirmed,” which means the user verified the email
address is valid by clicking a link sent from Kik to the provided email address, or

“unconfirmed,” which means the email address is invalid, or the user did not click on the

Affidavit in Support of Search Warrant - Page 10 of 23
Case 4:19-mj-00191-BJ Document1 Filed 02/25/19 Page12o0f28 PagelD 12

link from Kik. One key feature of Kik is that users are not required to provide accurate
information during the account registration process.

14. | Once an account is created, a user is able to locate other users via a search feature.
The search feature generally requires a user to know an intended recipient’s username to
locate them. Once connected, Kik users can share messages, images and videos, or
engage in video chat. Kik also allows users to create chatrooms, through which groups of
up to 50 users can exchange messages and digital files. These chatrooms, commonly
referred to as “Kik Groups,” are administered by the user who created the chatroom, and
this user has the authority to add, remove and ban other users from the group. These
groups are normally created with a group code that contains a “hashtag” (e.g.,
“#KikTeens”), allowing the group or chatroom to be located more easily. Once a group
is created, Kik users can engage in a “group chat” and exchange messages and content.
15. According to Kik’s Terms of Service, which each user must acknowledge when
creating an account, it is a violation of the agreement to use Kik to upload, post, comment
on, or store content that is obscene, offensive, contains pornography, or is harmful to
minors in any way. To combat the proliferation of child pornography on its platform, the
Kik Trust and Safety Team uses a third-party company to review profile pictures that are
uploaded by users and groups. Any images found to contain child exploitative material
are flagged and reported to the Trust and Safety Team.

16. _ Kik also allows users to report other users who have abused or harassed them

within the app. These are referred to as “Abuse Reports.” When a Kik user submits an

Affidavit in Support of Search Warrant - Page 11 of 23

 
Case 4:19-mj-00191-BJ Document1 Filed 02/25/19 Page13o0f28 PagelD 13

Abuse Report, they can include their full conversation history, including text and any
images or videos transmitted in the conversation. When the Kik Trust and Safety Team
receives an Abuse Report or referral from a third-party moderator, a Kik employee
reviews the reported material to verify that it contains child pornography or is otherwise
considered child exploitative material. If the material is in fact exploitative in nature, Kik
reports the information to the Royal Canadian Mounted Police (RCMP). Kik provides
the RCMP with the reported material, as well as basic subscriber information for the
suspect account. This subscriber data includes, but is not limited to, the information
entered by the user during the account registration process, any updates to this
information after the registration process, device type (e.g., iPhone, Samsung Galaxy S5,
etc.,), and log-in data associated with the last thirty days of account activity. Upon
reporting this information to the RCMP, Kik deletes the suspect account for violating its
Terms of Service.

17. Based on my training and experience in child exploitation investigations, I am
aware that Kik is a prominent meeting place for individuals seeking to share child
pornography and engage in child exploitative dialogue. I have arrested several offenders
who used Kik to transport, distribute and receive child pornography, as well as other
offenders who used the platform to coerce and entice minors to engage in illegal sexual
activity. Based on information obtained from interviews with some of these offenders, I
am aware that Kik is a preferred platform for child exploitation offenders because the

application facilitates anonymous communication, which assists offenders in avoiding

Affidavit in Support of Search Warrant - Page 12 of 23

 
 

Case 4:19-mj-00191-BJ Document1 Filed 02/25/19 Page14of28 PagelD 14

detection by law enforcement.

OVERVIEW OF INVESTIGATION
18. In November 2018, a Kik user submitted an Abuse Report regarding activity in a
specific Kik group. The Kik group contained at least 25 users, including an individual
utilizing username “ban.this.account.” Based on the messages and content exchanged in
this group, it appeared the group was dedicated to sharing child pornography and child
exploitative dialogue. For example, the following is an example of messages! sent in the
group, transmitted between November 12, 2018 and November 13, 2018:

[redacted username 1]: “Censored the butthole! How dare you lmao”
[redacted username 2]: “Hmmm”

[redacted username 1]: “Most delicious part lol”

[redacted username 2]: “Where is cp”

[redacted username 3]: “Is this actually a no rules chat?”

[redacted username 4]:

[redacted username 4]: “only rule is you have to fuck your little sister and
send proof”

19. _Kik user “ban.this.account.” shared multiple videos in this group, which were
captured in the Abuse Report. A member of the Kik Trust and Safety Team reviewed the
Abuse Report, including the files exchanged by the users in the group, and forwarded the
information to the RCMP. The information the RCMP received relating to Kik user

“ban.this.account.” included the following subscriber information:

 

' The text content in these messages, and any text referenced hereafter as an excerpt of communication, is
taken verbatim from the source and may contain typographical or grammatical errors, short-text, or
descriptions of a character that cannot be typed in normal font.

Affidavit in Support of Search Warrant - Page 13 of 23
Case 4:19-mj-00191-BJ Document1 Filed 02/25/19 Page15o0f28 PagelD 15

Username: ban.this.account.

First Name: .

Last Name: .

Email: gggffggehgfhvsgeveg@gmail.com@gmail.com (unconfirmed)

Device Type: Coolpad Model CP363a

Most frequently used IP address: 99.111.231.102
20. Based on the fact that IP address 99.111.231.102 resolves to the United States, the
RCMP forwarded the information regarding “ban.this.account.” to the HSI Attaché
Office in Ottawa, Canada. HSI Ottawa conducted further research into IP address
99.111.231.102, and determined that it is owned by AT&T and resolves to the Fort
Worth, Texas area. Based on this information, the referral was forwarded to the HSI
Dallas Child Exploitation Group for further investigation.
21. In January 2019, HSI Dallas received the information relating to the investigation
into Kik user “ban.this.account.”. The information in the Abuse Report indicates the
individual using “ban.this.account.” distributed seven (7) videos to the Kik group
between November 12, 2018 and November 13, 2018. The records provided by Kik
included five (5) of the videos distributed on November 13, 2018, which are described as

follows:

Affidavit in Support of Search Warrant - Page 14 of 23

 
 

Case 4:19-mj-00191-BJ Document1 Filed 02/25/19 Page 16of28 PagelD 16

 

File Name

File Description

 

3d3cff72-57fd-46bb-8339-
c406a69af672.mp4

This one minute, fifty-nine second video depicts
an adult male having sexual intercourse with a
nude prepubescent female child.

 

06bd283c-4de9-4258-a777-
30e50ff4a26e.mp4

This twenty-three second video depicts a male
masturbating and ejaculating on a nude
prepubescent female child.

 

78aa6553-1470-4c04-99ec-
d2e90e572b4e.mp4

This one minute, fifty-nine second video depicts
an adult female inserting an object into the vagina
of a nude prepubescent female child.

 

79730b68-al b4-4cfe-9a06-
8bc04aef7575.mp4

This seventeen-second video depicts an adult male
having sexual intercourse with a nude
prepubescent female child.

 

55360d40-59b9-4c5 1-bb5d-
2d7350001799.mp4

 

 

This seventeen-second video depicts an adult male
having sexual intercourse with a nude
prepubescent female child.

 

Based on my training and experience, these files meet the federal definition of child

pornography found in 18 U.S.C. § 2256.

22. The subscriber information for “ban.this.account.” included log-in records, which

indicate the videos referenced in paragraph 21 were distributed using IP address

 

99.111.231.102. Log-in records further indicate the user of this account utilized this IP
address over 1,800 times to access the “ban.this.account.” account between October 17,
2018 and November 15, 2018.

23. On January 25, 2019, HSI Dallas served a subpoena on AT&T for subscriber
information relating to the customer assigned IP address 99.111.231.102 on November
13, 2018, which corresponds with the date this IP address was used to distribute child

pornography using the “‘ban.this.account.” Kik account.

Affidavit in Support of Search Warrant - Page 15 of 23
Case 4:19-mj-00191-BJ Document1 Filed 02/25/19 Page17of28 PagelD 17

On January 26, 2019, AT&T complied with the subpoena and reported that this IP
address was assigned to the following customer on the requested date:
Customer Name: Rashel Smith
Address: 4632 Fawn Drive, Fort Worth, Texas
Account Status: Active
IP Session Start: 11/7/2018
24. Based on my training and experience, and information learned through prior
investigations, I am aware that AT&T U-Verse Internet accounts do not have traditional
session records with a standard log-on/log off format. AT&T U-Verse customers have a
unique, static IP address directly provisioned to the account. Accordingly, IP address
99.111.231.102 is a static IP address that will be assigned to the Internet services at
4632 Fawn Drive, Fort Worth, Texas as long as the customer does not change the
services or equipment associated with the account.
25. On February 12, 2019, I conducted surveillance at 4632 Fawn Drive, Fort
Worth, Texas. At approximately 8:45 a.m., I observed the following vehicles parked at
this residence:

a. Blue Honda Pilot, Texas license plate (TXLP) CPB-2762, registered to
Rashel Bownds Smith at this address;

b. Blue Honda Civic, TXLP HVC-1182, registered to Rashel Bownds
Smith at this address;

c. Black Suzuki SUV, TXLP KVX-8082, registered to Ra Shel Smith at
this address;

d. Black Plymouth Neon, TXLP BDY-6470, registered to Makila Jo Lynn
Bownds, 9127 Renee Cir., #1602, Fort Worth, Texas.

Affidavit in Support of Search Warrant - Page 16 of 23
Case 4:19-mj-00191-BJ Document1 Filed 02/25/19 Page 18of28 PagelD 18

26. During this surveillance operation, I used a mobile electronic device to scan for
wireless networks at or near 4632 Fawn Drive, Fort Worth, Texas. While positioned
directly in front of the residence, the device discovered multiple wireless networks. All
of these networks were secured except for one, which was labelled as a guest network. I
connected the mobile device to the network and was able to reach the Internet. |
subsequently checked the device’s public IP address, which showed to be 174.82.85.140.
Research into this IP address indicates it is owned by Spectrum; and as disclosed in
paragraph 23 of this affidavit, the Internet service at 4632 Fawn Drive, Fort Worth,
Texas is assigned a static AT&T IP address. This indicates that the open wireless
network is associated with a neighbor’s Spectrum account, and 4632 Fawn Drive, Fort
Worth, Texas is broadcasting a secured wireless network. Accordingly, an individual
using the Internet service at this residence would likely need the encryption key or
password to utilize its particular network.

27. During my investigation into this matter, I obtained a copy of the Texas driver’s
license for Rashel Bownds Smith, which lists 4632 Fawn Drive, Fort Worth, Texas as
her current address. I also researched the Consolidated Lead Evaluating Reporting
(CLEAR) public records database for intelligence regarding the residents at 4632 Fawn
Drive, Fort Worth, Texas. CLEAR consolidated data indicates this residence is
associated with a family whose adult members include Rashel Smith, Markus Dill, Caleb
Dill and Makila Bownds. Furthermore, Tarrant County Appraisal District records
indicate 4632 Fawn Drive, Fort Worth, Texas is owned by Ra Shel B. Smith.

Affidavit in Support of Search Warrant - Page 17 of 23

 
Case 4:19-mj-00191-BJ Document1 Filed 02/25/19 Page 19o0f28 PagelD 19

CHARACTERISTICS OF CHILD PORNOGRAPHY COLLECTORS
28. The facts contained in this affidavit establish probable cause to believe that an
individual using the Internet services at 4632 Fawn Drive, Fort Worth, Texas has
distributed and transported child pornography, or has attempted to commit said crimes, in
violation of federal law. Based on my training, experience, and numerous interviews of
subjects who admitted to having a sexual interest in children, J am aware that the
following characteristics are common to individuals involved in child pornography
offenses:

a. Such individuals may receive sexual gratification, stimulation,
and satisfaction from contact with children, or from fantasies they may have
viewing children engaged in sexual activity, sexually suggestive poses, or
from literature describing such activity;

b. Such individuals may collect sexually explicit or sexually
suggestive material depicting children, in a variety of media, including
photographs, magazines, motion pictures, videotapes, books, slides and/or
drawings or other visual media. These individuals often maintain this
material for sexual arousal and gratification. Furthermore, they may use this
material to lower the inhibitions of children they are attempting to seduce, to
arouse a child partner, or to demonstrate the desired sexual acts;

c, Such individuals often possess and maintain copies of child

pornographic material, including but not limited to pictures, films, video

Affidavit in Support of Search Warrant - Page 18 of 23
 

Case 4:19-mj-00191-BJ Document1 Filed 02/25/19 Page 20 of 28 PagelD 20

tapes, magazines, negatives, photographs, correspondence, mailing lists,
books, and tape recordings, in the privacy and security of their home. Prior
investigations into these offenses have shown that child pornography
offenders typically retain pictures, films, photographs, negatives, magazines,
correspondence, books, tape recordings, mailing lists, child erotica, and
videotapes for many years;

d. Such individuals often begin their child pornography collections
by obtaining child abuse material through various free avenues afforded by
the Internet, like P2P file sharing. Thereafter, these individuals may escalate
their activities by producing and/or distributing child pornography, for the
purpose of trading this material to add to their own child pornography
collection;

e. Such individuals often maintain their digital or electronic
collections in a safe, secure and private environment, such as a computer or
surrounding area. These collections are often maintained for several years
and are maintained at the individual’s residence or place of employment, to
afford immediate access to view the material;

f. Such individuals may correspond with others to share
information and material, and rarely destroy this correspondence. These

individuals often maintain lists of names, email addresses and telephone

Affidavit in Support of Search Warrant - Page 19 of 23
Case 4:19-mj-00191-BJ Document1 Filed 02/25/19 Page 21o0f28 PagelD 21

numbers of others with whom they have been in contact regarding their

shared interests in child pornography.

29. The facts set forth in this affidavit demonstrate that an individual using the
Internet services at 4632 Fawn Drive, Fort Worth, Texas meets the characteristics of a
collector of child pornography because: 1) the individual joined a Kik group to
communicate with other individuals interested in the sexual exploitation of children; and,
2) the individual distributed at least 5 videos depicting child pornography.
BIOMETRIC AUTHENTICATION ON DIGITAL DEVICES
30. Based on the fact that Kik is a mobile application exclusive to mobile devices
(with very limited exceptions), I believe that the premises to be searched will contain
mobile electronic devices such as smartphones, tablets and e-readers, which will contain
evidence subject to search and seizure under this warrant. Based on my training,
experience, and publicly available information, I am aware that Apple, Motorola, and
Samsung, as well as other companies, produce digital devices that can be unlocked via
the use of a fingerprint or thumbprint in lieu of a numeric or alphanumeric passcode or
password. Each company has a different name for this biometric authentication feature;
for example, Apple’s version is called “Touch ID.”
31. Ifauser enables the Touch ID feature on an Apple device, he or she can register
up to five fingerprints that can be used to unlock that device. The user can then use any

of the registered fingerprints to unlock the device by pressing the relevant finger(s) to the

Affidavit in Support of Search Warrant - Page 20 of 23

 
Case 4:19-mj-00191-BJ Document1 Filed 02/25/19 Page 22 of 28 PagelD 22

device’s Touch ID sensor, which is found in the round button (often referred to as the
“home button’) at the bottom of the device.

Based on my training and experience, I am aware that users of Touch ID-capable devices
often utilize this feature because it is a more convenient way to unlock the device, as well
as a more secure way to protect the device’s contents. This is particularly true when the
user of the device is engaged in criminal activity, and has a heightened concern about
securing the contents of the device.

32. In some circumstances, a fingerprint cannot be used to unlock a Touch ID-enabled
device, and a passcode or password must be used instead. These circumstances include:
1) when more than 48 hours have passed since the device has been unlocked; 2) when the
device has been turned on or restarted; 3) when the device has received a remote lock
command; or 4) after five attempts to match a fingerprint have been unsuccessful. Other
brands have similar restrictions for their biometric authentication features.

33. The passcode or password that may be needed to unlock the digital device(s)
found during the search of 4632 Fawn Drive, Fort Worth, Texas is not known to law
enforcement. Thus, it will likely be necessary to use the fingerprints or thumbprints of
the user(s) of any fingerprint sensor-enabled device(s) found during the search, in order
to unlock the device(s) for the purpose of searching for the evidence subject to seizure
under this warrant.

34. Therefore, I request the authority to compel the use of the fingerprint(s) or

thumbprint(s) of any person who is located at 4632 Fawn Drive, Fort Worth, Texas

Affidavit in Support of Search Warrant - Page 21 of 23

 
 

Case 4:19-mj-00191-BJ Document1 Filed 02/25/19 Page 23 0f 28 PagelD 23

during the execution of the search, who is reasonably believed by law enforcement to be
the user of a fingerprint sensor-enabled device located at this residence.
The requested authorization is necessary because the Government may not otherwise be
able to access the data contained on these devices for the purpose of searching for the
evidence subject to seizure under this warrant.

CONCLUSION
35. Based on the information set forth in this affidavit, there is probable cause to
believe that evidence, fruits, and instrumentalities of violations of 18 U.S.C. §§ 2252 and
2252A are presently located at 4632 Fawn Drive, Fort Worth, Texas, and the digital
media therein. Accordingly, I respectfully request that this Court authorize the search of
this residence, including any vehicles located at or near the premises that fall under the
dominion and control of the persons associated with said premises, so that agents may
seize the items listed in Attachment B.
36. Rule 41 of the Federal Rules of Criminal Procedure authorizes the Government to
seize and retain evidence and instrumentalities of a crime for a reasonable time, and to
examine, analyze, and test them. I further request that the Court authorize the transfer of
any computers, computer storage devices or smartphones to other Government authorized
personnel or contractors, within or outside of this District, in the event that advanced

expertise is needed to access the files subject to search and seizure under this warrant.

Affidavit in Support of Search Warrant - Page 22 of 23

 
Case 4:19-mj-00191-BJ Document1 Filed 02/25/19 Page 24 of 28 PagelD 24

37. Because multiple people share the premises described in Attachment A as a
residence, it is possible that there will be computers and storage media that are
predominantly used, and perhaps owned, by persons who are not suspected of a crime.

If agents conducting the search nonetheless determine that it is possible that the things
described in this warrant could be found on any of those computers or storage media, this
application seeks permission to search and if necessary to seize those items as well. It may
be impossible to determine, on scene, which computers or storage media contain the things

described in this warrant.

L,

LeAndrew J. Mitchell
Special Agent
Homeland Security Investigations

Ye
Sworn to and subscribed before me on this ZS day of February, 2019 at
[+30 _p.min Fort Worth, Texas.

Atists—
JEFFREY I/CURETON
United Stafes Magistrate Judge

 

Affidavit in Support of Search Warrant - Page 23 of 23
Case 4:19-mj-00191-BJ Document1 Filed 02/25/19 Page 25o0f28 PagelD 25

ATTACHMENT A
DESCRIPTION OF LOCATION TO BE SEARCHED
4632 Fawn Drive, Fort Worth, Texas 76132
The residence is described as a single-family dwelling, constructed of brick and tan trim.
The number “4632” is painted on the curb on both sides of the driveway that leads to the
front of the resident. The residence is located in Fort Worth, Tarrant County, Texas,
within the Northern District of Texas. The search warrant includes any vehicles located
at or on the premises, or within the curtilage of the premises, which fall under the
dominion and control of any person(s) associated with, or present on, said premises. The
search of these vehicles is to include all internal and external compartments or containers,

which may reasonably store child pornographic materials or their instrumentalities.

A Sas
fe —

 

Attachment A

 
Case 4:19-mj-00191-BJ Document1 Filed 02/25/19 Page 26 of 28 PagelD 26

ATTACHMENT B
DESCRIPTION OF ITEMS TO BE SEIZED AND SEARCHED

1. Computers, tablets, computer hardware, computer software, computer
related documentation, computer passwords and data security devices, cellular devices,
video recording devices, video recording players, videotapes and video display monitors
that may be, or are used to: visually depict child pornography or child erotica; display or
access information pertaining to a sexual interest in child pornography; display or access
information pertaining to sexual activity with children or the coercion or enticement of
children; or distribute, possess, or receive child pornography, child erotica, or
information pertaining to an interest in child pornography or child erotica.

2. Evidence identifying the individual(s) who used, owned, or controlled the
computer(s) and cellular devices at the time the things described in this warrant were
created, edited, or deleted, such as logs, registry entries, configuration files, saved
usernames and passwords, documents, browsing history, user profiles, email, email
contacts, “chat,” instant messaging logs, photographs, accounts of Internet Service
Providers.

3. For any computer, computer hard drive, cellular phone, or other physical
object upon which computer data can be recorded (hereinafter, “COMPUTER?”) that is
called for by this warrant, or that may contain things otherwise called for by this warrant:

a. evidence of software that would allow others to control the COMPUTER,

such as viruses, Trojan horses, and other forms of malicious software, as

Attachment B

 
a

Case 4:19-mj-00191-BJ Document1 Filed 02/25/19 Page 27 of 28 PagelD 27

well as evidence of the presence or absence of security software designed to
detect malicious software;

b. evidence of the lack of such malicious software;

c. evidence of the attachment to the COMPUTER of other storage devices or
similar containers for electronic evidence;

d. evidence of counter-forensic programs (and associated data) that are

 

designed to eliminate data from the COMPUTER;

e. evidence of the times the COMPUTER was used;

f. passwords, encryption keys, and other access devices that may be necessary
to access the COMPUTER;

g. documentation and manuals that may be necessary to access the
COMPUTER or to conduct a forensic examination of the COMPUTER;

h. contextual information necessary to understand the evidence described in
this attachment.

4. Videos, still images, and other recordings of visual depictions of minors
engaged in sexually explicit conduct, as defined in 18 U.S.C. § 2256;

5. Written, typed, or verbal communications by or to the user of
“ban.this.account.” which may constitute violations of 18 U.S.C. § 2251, 18 USC § 2422,
and 18 USC § 2252;

6. Evidence of smartphone applications, including Kik, or other programs
used to offer, send, receive, solicit or entice minors to engage in sexually explicit
conduct, or to produce images of minors engaged in sexually explicit conduct;

7. Records evidencing occupancy or ownership of the premises described

above, including, but not limited to, utility and telephone bills, mail envelopes, or

Attachment B
Case 4:19-mj-00191-BJ Document1 Filed 02/25/19 Page 28 of 28 PagelD 28

addressed correspondence, rental or lease agreements, mortgage documents, rental or
lease payments and credit card information, including, but not limited to, bills and
payment records.

8. Any and all notes, documents, records, computer files or correspondence, in
any format and medium (including, but not limited to, envelopes, letters, papers, e-mail
messages, chat logs and electronic messages, and handwritten notes) pertaining to the
possession, receipt, or distribution of child pornography as defined in 18 U.S.C.

§ 2256(8) or to the possession, receipt, or distribution of visual depictions of minors
engaged in sexually explicit conduct as defined in 18 U.S.C. § 2256(2).

9. Any and all records, documents, invoices and materials, in any format or
medium (including, but not limited to, envelopes, letters, papers, e-mail messages, chat
logs and electronic messages, and other digital data files) that concern online storage or
other remote computer storage, including, but not limited to, software used to access such
online storage or remote computer storage, user logs or archived data that show
connection to such online storage or remote computer storage, and user logins and
passwords for such online storage or remote computer storage.

10. Any and all cameras, film, videotapes or other photographic equipment.

11. During the execution of this search warrant, law enforcement personnel are
authorized to press the fingers and/or thumbs of any person located at the residence
during the execution of this warrant, to the fingerprint sensor of any device reasonably
believed by law enforcement to be used by the person, for the purpose of attempting to

unlock the device in order to search the contents as authorized by this warrant.

Attachment B
